INRE:

MARTIN 'G_ABRIEL SE'NDEJAS AND
BRJ;€NDA VERONYKA S_ENDEJAS,

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`U`NITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DIS'I`RICT OF INDIANA

CASE NO.: `18~`21134
Chapte:' 7

§)ebfors

AGREED OR])ER ON CRE_!)ITOR’S MO'I`IUN FOR_RELIEF FROM S"I_`AY AND

_TRUSTEE’S OBJECTION THERETO

K.emeth ~A. Mz_mning,_ Chapter 7 Trus’cee, by counsel, and Pennyl\/lae .Loen S_erv`iees LLC,

by eeunsel_, stipulate end egx'ee ass §l`ol§ow's:

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2)

3)

4)

5)

MT.LL_§

This case commenced as a Cheptei' 7 bankruptcy on April 30, 2018.

'I`he Deb‘tors have listed t`he‘real estate located at 4326 Baltimore A‘_.¢e Hammo_nd IN
4632? as Suz¢rendered to ‘the creditor. Tlle real estate located at 4322 Balt_imore- Ave
Hammond IN 4632_? Was_not lietec§ on the Debtor"e seliedulee as am asset but is en
&djacent vee€mt lot titled 511 the name of Martin G. Sendejas, the-l)e`btor.

T'mstee believes this property has equi?y_ 'Wbloh may be liquidated for the benefit of
oredit'ors. --~

Cl'editer PennyMee Lozm Se;wices LLC filed a Motion for Relieffrom Stay and
Abendonmenf on August 2{), 2013. (Dool<et Entry #24). T.ruetee objection le the motion
on Au_gust 24, 201 8 (Deeket Entxy #2?).

fleming wes held en this matter Septer_nben‘ 1.4.,"2{)18 at which the court ordered the
parties file an agreed order filed by Ociiob‘er 1_5, 2018.

TH_E PARTIES DO N.OW STIPULATE AND AGREE AS FOLL()WS:

 

 

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A) Tt'astee Will have 120 days item the entry of.tlt\is order to market the property for
Sal'e.

B) I't` an offer from a potential bttyer"is less than a full payoff of the creditor’s secured
mortgage lifen, Creditez"mttat approve the offer prior to closingd

C} ff the real estate fails to 'sell for an agreeable price Witltin 120 days of the entry of
this order, Tmetee Wilt withdraw his objection to the Creditor’s Motion for Reliet` from St_ay and

Attatldonmcnt.

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Mfanaing & Mouratidea_, -PXC. Marz`nosei Law Grcup P C

    

 

Attorney for Trua_tee Attotaey fm 'Creditor

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OR]}ER

Exam`med, approved and so oz'c'teted.

 

JUDGE, U.S. Bankrt_l_.p`tcy Court

 

 

